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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                   :
JESSE HAMMONS
                                   :

     v.                            :   Civil Action No. DKC 20-2088

UNIVERSITY OF MARYLAND MEDICAL     :
SYSTEM CORPORATION, et al.
                                   :

                                 ORDER

     For the reasons stated in the foregoing Memorandum Opinion,

it is this 28th day of July, 2021, by the United States District

Court for the District of Maryland, ORDERED that:

     1.   The motion to dismiss filed by Defendants University of

Maryland Medical System Corporation, UMSJ Health System, LLC, and

University of Maryland St. Joseph Medical Center, LLC (ECF No. 39)

BE, and the same hereby IS, GRANTED in part and DENIED in part;

     2.   Counts I and II BE, and the same hereby ARE, DISMISSED,

WITHOUT PREJUDICE pursuant to Fed.R.Civ.P. 12(b)(1); and

     3.   The Clerk will transmit copies of the Memorandum Opinion

and this Order to counsel for the parties.



                                                 /s/
                                       DEBORAH K. CHASANOW
                                       United States District Judge
